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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF PUERTO RICO

      IN RE
      JOSE A RODRIGUEZ ROSA &                                  BANKRUPTCY 18-03391 ESL
      CARMEN L ALVARADO TORRES
                                                               CHAPTER 13
      SSN #5821/#7557                                          Hearing on docs #6 & #18 7/17/2018
      Debtors

                CREDITOR REQUEST FOR RELIEF UNDER §362(c)(3)(A) & (B)



 TO THE HONORABLE COURT:
        NOW APPEARS Creditor ALEJANDRO TORRES GARCIA through his joint legal
 representation who respectfully pray to the Court as follows:

           1. Debtors filed this bankruptcy case under the provisions of chapter 13 on June 15, 2018.
              On the same date debtors requested that the automatic stay be continued at doc #06
              pursuant to §362(c)(3). See docs #01 and #06.

           2. Appearing creditor requested at doc #15 and obtained at doc #16 an extension of time
              to oppose the §362(c)(3) request for continuation of the stay until July 13, 2018.1
              Creditor filed his opposition to the continuation of the stay on July 11, 2018 titled
              Creditor Motion for Denial of Debtors’ Request to Continue Automatic Stay & §362(C)(3)
              Motion at doc #18.

           3. Creditor in his Opposition essentially asserts, inter alia, that debtors have failed to
              demonstrate that the filing of this their second successive filing within one year is in
              good faith as to the creditors to be stayed. Refer to doc #18.2

           4. Upon notice and a hearing, the court may extend the stay in a case as to any or all
              creditors (subject to such conditions or limitations as the court may then impose) after
              notice and a hearing completed before the expiration of the 30-day period only if
              the party in interest demonstrates that the filing of the later case is in good faith
              as to the creditors to be stayed. 11 U.S.C. § 362(c)(3)(A)-(B). Emphasis added.



 1
   On July 2, 2018 this Court at doc #16 allowed the extension requested by this creditor at doc #15 by re-setting and
 re-scheduling the due date for opposition and for the hearing for July 13 and July 17 respectively.
 2
   On July 14, 2018 at doc #20 debtors have responded to creditor’s opposition to the continuance of the automatic stay
 wherein there is now some semblance of reasons for not performing in their prior case, permit situation etc. & appears
 to attempt to cure other omissions in pleading in the original motion at doc #06 raised by creditor at doc #18.

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        5. The hearing on this matter has been re-scheduled for July 17th, 2018. Notwithstanding,
           § 362(c)(3)(A)-(B) plainly and textually requires that both notice and the hearing on
           this matter must be completed before the expiration of the 30-day period.

        6. Debtors have failed to bring the matter or error of the hearing being scheduled outside
           of the original 30-day period to the attention of the Court. Neither does debtors’ motion
           minimally plead the requirements of §362(c)(3) as asserted and argued in Creditor’s
           Motion for Denial filed on July 11, 2018 and as such should be denied or conditioned
           as requested in the alternative in creditor’s prayer filed at doc #18.

        7. Under the circumstances that debtors have not minimally pled the requirements of
           §362(c)(3) nor have they demonstrated that this their second successive case is in good
           faith in conjunction to the fact that the hearing will not be completed before the 30-day
           period required by §362(c)(3)(A)-(B), the continuation of the stay must necessarily be
           denied, or conditioned as to this creditor as prayed at doc #18.

        8. Notwithstanding debtors’ response at doc #20 on July 14, 2018 wherein some
           semblance of curing minimum pleading standards lacking in doc #06, creditor still
           requests conditions be required of this debtor, some of which have been anticipated by
           the debtors will be performed in its response at doc #20.

        9. Parties will attempt to reach agreement prior to the hearing on this matter scheduled for
           July 17, 2018.

        10. Leave is requested for a reduced, if any, opposition opportunity notice under the
            circumstances that there is a hearing tomorrow, July 17, 2018.

       WHEREFORE creditor respectfully prays that debtors’ motion for continuation of the
 automatic stay be denied and/or conditioned as prayed at doc #18 for failure:

        a) to assure & correct that both the Notice and hearing would be completed within the
           original 30-days as required by §362(c)(3)(A)-(B);
        b) failure of the motion to meet minimal pleading standards in demonstrating that this
           debtors’ second successive case is in good faith;
        c) in demonstrating that there has been substantial change in debtors’ financial and
           personal situation; and
        d) that this second successive filing will be successful and that debtors will be able to
           reorganize and rehabilitate their financial situation in this second successive case within
           one year.




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                                                    NOTICE

          Within five (5) days after service as evidenced by the certification, any party against whom
 this paper has been served, or any other party to the action who objects to the relief sought herein,
 shall serve and file an objection or other appropriate response to this paper with the Clerk’s office
 of the U.S. Bankruptcy Court for the District of Puerto Rico. If no objection or other response is
 filed within the time allowed herein, the paper will be deemed unopposed and may be granted
 unless: (I) the requested relief is forbidden by law; (ii) the requested relief is against public policy;
 or (iii) in the opinion of the Court, the interest of justice requires otherwise.
        I hereby certify that a copy of the foregoing document was delivered via CmECF to: Ms.
 Johanne A Cortes, Esq. for debtors @ lcdajohannecortes@gmail.com, Mr. Alejandro Oliveras,
 Esq., Chapter 13 Trustee @ aorecf@ch13sju.com, Ms. Monsita Lecaroz, Esq, U.S. Trustee @
 ustpregion21.hr.ecf@usdoj.gov, and all creditors participants therein and to to Jose Alberto
 Rodriguez Rosa Carmen Lourdes Alvarado, debtors via regular mail to: Brisas de Tortuguero, #16
 Calle Rio Grande, Vega Baja 00693.

     In Hatillo and Caguas, Puerto Rico, today 16th of July 2018.


  s/Melissa Cofán Hernández                           s/ L. A. Morales
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